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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                             Criminal Action No. 1:23-cr-00022 (CJN)

JOSHUA LOPEZ,

              Defendant.


                                             ORDER

       Pursuant to the Court’s oral order on February 6, 2023, unsealing this case with the

exception of certain documents, it is

       ORDERED that this case shall be unsealed with the exception of the documents filed at

ECF Nos. 1, 2, 6, 27, 39, and 40, which shall remain under seal. It is further

       ORDERED that the Government shall file redacted versions of the documents filed at ECF

Nos. 27, 39, and 40 on the public docket.


DATE: February 7, 2023
                                                             CARL J. NICHOLS
                                                             United States District Judge
